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06/12/2020 08:07 AM CDT




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                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                        LANHAM v. BNSF RAILWAY CO.
                                             Cite as 306 Neb. 124



                                   Alexander Lanham, appellant and
                                    cross-appellee, v. BNSF Railway
                                        Company, appellee and
                                            cross-appellant.
                                                  ___ N.W.2d ___

                                        Filed June 12, 2020.    No. S-19-114.

                                          supplemental opinion
                  Appeal from the District Court for Lancaster County:
               Robert R. Otte, Judge. Former opinion modified. Motion for
               rehearing overruled.
                 Corey L. Stull and Jeanette Stull, of Atwood, Holsten,
               Brown, Deaver &amp; Spier, P.C., L.L.O., and Christopher H.
               Leach, of Hubbell Law Firm, L.L.C., for appellant.
                  Nichole S. Bogen, of Lamson, Dugan &amp; Murray, L.L.P.,
               Wayne L. Robbins, Jr., of Robbins Travis, P.L.L.C., and
               Andrew S. Tulumello, of Gibson, Dunn &amp; Crutcher, L.L.P.,
               for appellee.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                  Per Curiam.
                  This case is before us on a motion for rehearing filed by
               the appellant and cross-appellee, Alexander Lanham, con-
               cerning our opinion in Lanham v. BNSF Railway Co. 1 While
                1
                    Lanham v. BNSF Railway Co., 305 Neb. 124, 939 N.W.2d 363 (2020).
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                 Nebraska Supreme Court Advance Sheets
                          306 Nebraska Reports
                           LANHAM v. BNSF RAILWAY CO.
                                Cite as 306 Neb. 124
there is no substantive merit to the motion, Lanham correctly
points out that a statutory citation, also used by the district
court, addressed nonprofit corporations rather than for-profit
corporations such as BNSF Railway Company. This had no
effect upon the outcome of the appeal, as the two statutes
are substantially identical. We overrule the motion, but we
modify the original opinion to substitute the correct citation
as follows:
   In syllabus point 11, 2 we withdraw the reference to “Neb.
Rev. Stat. § 21-19,152 (Reissue 2012)” and substitute “Neb.
Rev. Stat. § 21-2,209 (Cum. Supp. 2018).”
   We make two changes in the background section. We with-
draw the phrase “Pursuant to Neb. Rev. Stat. § 21-19,152
(Reissue 2012),” in the fourth sentence of the third paragraph. 3
In the first sentence of the fifth paragraph, we add “Neb.
Rev. Stat.” before “§ 21-19,152” and “(Reissue 2012)” after
the statute. 4
   We also modify the analysis section in five respects
under the subheading “Consent by Registration.” In the
eighth paragraph, 5 after the first sentence, we add “Because
§ 21-19,152 applies to nonprofit corporations, the district court
should have cited to Neb. Rev. Stat. § 21-2,209 (Cum. Supp.
2018), a nearly identical statute applicable to for-profit cor-
porations like BNSF.” We withdraw the ninth paragraph 6 and
substitute:
      Section 21-2,209 provides:
         . . . Each foreign corporation authorized to trans-
      act business in this state must continuously maintain in
      this state:
2
    Id.   at   125, 939 N.W.2d at 363.
3
    Id.   at   126, 939 N.W.2d at 366.
4
    Id.   at   127, 939 N.W.2d at 366.
5
    Id.   at   133, 939 N.W.2d at 370.
6
    Id.   at   133-34, 939 N.W.2d at 370.
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            Nebraska Supreme Court Advance Sheets
                     306 Nebraska Reports
                      LANHAM v. BNSF RAILWAY CO.
                           Cite as 306 Neb. 124
         (1) A registered office that may be the same as any of
      its places of business; and
         (2) A registered agent, who may be:
         (i) An individual who resides in this state and whose
      business office is identical with the registered office;
         (ii) A domestic corporation or not-for-profit domestic
      corporation whose business office is identical with the
      registered office; or
         (iii) A foreign corporation or foreign not-for-profit cor-
      poration authorized to transact business in this state whose
      business office is identical with the registered office.
In the 10th paragraph, 7 we substitute “21-2,209” for “21-19,152”
in the first and third sentences. Finally, in the second sen-
tence of the last paragraph of the subsection, 8 we substitute
“21-2,209” for “21-19,152.”
   The remainder of the opinion shall remain unmodified.
                           Former opinion modified.
                           Motion for rehearing overruled.
7
    Id. at 134, 939 N.W.2d at 370.
8
    Id. at 135, 939 N.W.2d at 371.
